                                           Case 4:14-cr-00030-JST Document 324 Filed 04/08/20 Page 1 of 1




                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                     NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     UNITED STATES OF AMERICA,                           Case No.: 14-cr-00030-JST-1
                                                           Plaintiffs,
                                   5
                                                                                             CERTIFICATE OF SERVICE
                                                   v.
                                   6

                                   7     BELTON,
                                                           Defendants.
                                   8

                                   9

                                  10   I, the undersigned, hereby certify that:

                                  11       (1)      I am an employee in the Office of the Clerk, U.S. District Court, Northern District of
                                                    California; and
                                  12
Northern District of California
 United States District Court




                                  13       (2)      On 4/8/2020, I SERVED a true and correct copy of the Order Denying Motion To
                                                    Vacate, Set Aside, Or Correct Sentence As To Marcus Belton, by placing said
                                  14                copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                                    depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an
                                  15                interoffice delivery receptacle located in the Clerk’s office.
                                  16

                                  17    Marcus Belton
                                        98903-011
                                  18    United States Penitentiary
                                        3901 Klein Boulevard
                                  19    Lompoc, CA 93436-2706
                                  20
                                       Dated: 4/8/2020
                                  21

                                  22                                                      Susan Y. Soong
                                                                                          Clerk, United States District Court
                                  23

                                  24                                                      By:________________________
                                  25                                                      Mauriona Lee, Deputy Clerk to
                                                                                          the Honorable Jon S. Tigar
                                  26
                                  27

                                  28
                                       Service_Certificate _CRD
                                       rev. August 2018
